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                            Exhibit 147
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                                                 UNCLASSIFIED

                                    DEPARTMENT OF THE ARMY
                                Headquarters, Special Operations Task Force Central
                                                  Baghdad, Iraq
                                                  APO AE 09342

            REPLY TO
            ATTENTION OF:




 AOSO-SFC-CO                                                                               17 October 2007


 MEMORANDUM FOR RECORD

 SUBJECT: Informal AR 15-6 Investigation, SFC Monschke


 1. I have reviewed all evidence and information associated with the s
 investigation, including all documentary and photographic evidence, s
 personnel directly involved, operational reporting, and the findings

 2~nonconcur with the investigating officer's fin
~disapproved.

 3. I am the POC for this memo at DSNI (b)(3)(b)(6) lor




                                                                  (b )(3)(b )(6)




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                                              UNCLASSIFIED

                                   DEPARTMENT OF THE ARMY
                         Headquart<3rs, Special Operations Task Force Central
                                           APO AE 09342




AOSO-SFC-SN                                                                              17 October 2007


MEMORANDUM FOR Commander, Special Operations Task Force Central, APO AE O ,,

SUBJECT: Infom1al Army Regulation (AR) 15-6 Investigation


1. I have conducted and AR 15-6 Investigation into two separate insta
Monschke. Specifically, I have determined the facts and circumstance
October 2007 during Operation MODEL T, and have also determine                       and circumstances
surrounding a hostile fire engagement that occurred on 1 Aug                         peration
CHARGER. My investigative findings for both incidents                             is memorandum.

2. The following findings are based on evidence, verbal inter
IA W the 15-6 investigation:

    a. Operation MODEL T.                                           ts of the Iraqi Special Operations
Force (ISOF) Brigade and US Special Force                       isors conducted Operation MODEL T.
This operation consisted of a helicopter assau                re/detain a knovvn insurgent operating in the
Arab Jabour region of Iraq. After arri          at the     et objective location, the assault force (AF),
moved by foot to target bldg Hl 1, an                 and cleared this building. Once the initial target
building was cleared, the AF then                    cleared another building (H6). While sensitive site
exploitation was being conducte                    ary and secondary target buildings, the AC-130
gunship reported that three in                ed from an adjacent building, and two of these men moved
in a northeaster direction                 proximately 30-40 meters away. Upon receiving this report,
the AF attempted to lo                 ten and moved northward in pursuit. The assault force arrived to
Main Street, and then            oving east towards the location of the two men. Once at the
intersection of Ei               d Main Street, an improvised explosive device (IED) detonated.
                          m Monschke was within the blast area of the IED and was thrown
                         s into a 15-foot dee ditch. The blast caused~                (b)(6)    I
                                (b)(6)                                     When the medic arrived to the
                     o provide life--saving measures to SFC Monschke, to no avail. At 0346 local
                 no ed that SFC Monschke ceased to have a pulse and had died. The assault force
                SFC Monschke and another Soldier that had been wounded while the Explosive
      ance Disposal element cleared a route back to the target building. Once all elements were
co lidated and accounted for, the AF moved to the helicopter landing zone and departed the
objective area. Sergeant Monschke was transported to mortuary affairs and later to Dover, DE
where the medical examiner detennined the cause of death to be blast injuries.




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 AOSO-SFC-SN
 SUBJECT: Informal Army Regulation (AR) 15-6 Investigation


      (1) There is no evidence that intentional misconduct or negligence by any US or Coalition
Force personnel was a proximate or contributory cause of death in this incident. The team members
took all proper steps to mitigate the threat of explosive devices during planning and executing this
operation. Each member of the Assault Force was given a safety briefing prior to the missio •
accordance with established unit standing operating procedures (SOP). Each member of the
Assault Force, to include SFC Monschke, was wearing body armor, a ballistic helmet, a
eyewear at the time of the incident. There is no evidence that any aspect of operationa
compromised by any conventional forces or Iraqi Security Forces personnel prior

       (2) There was no evidence of any defects in the Personal Protective E                  E) that
would have contributed in any way to injuries sustained by SFC Mons                      all possible
efforts to treat SFC Monschke's injuries were made by the Special Fo                   the scene.

       (3) The IED blast destroyed much of SFC Monshcke'                     ment, to include his
Glock 19 pistol (serial number HSU448), Advanced Com                       the X200 tactical pistol
light. Additionally, several items on his body were unrecov            rviceable and therefore left
at mortuary affairs, including his individual body armor                , various utility pouches,
Desert Combat Uniform (DCU) coat and trousers, bo           t, and Suunto watch.

      (4) It is uncertain which type of IED                   ow it was initiated/detonated. However,
based on fragmentation the projectile appear                n 130-152 millimeters in size. Similarly,
the absence of a pressure plate from b                tes that is was likely either a command wire
(CW) or Remote Controlled (RC) de

    b. Operation CHARGER                             2007, elements of the ISOF and USSF conducted
 Operation CHARGER, the pu                     hich was to capture a High Value Individual who was a
known insurgent operating in                  q. During foot movement to the target area, Sergeant
Monschke was at the lea                )Sition as the Squad Automatic Weapon (SAW) gunner. Enroute
to the target, the AF r                ll arms fire from a four-man security element armed with
AK-4 7 assault rifl               t Monschke and other AF members immediately returned fire, killing
three enemy com                  wounding the fourth. As the AF was approaching the target building
with Serge                 e in the lead, two armed hostile individuals emerged from the building and
                       s the AF, attempting to engage it. In response to this threat, SFC Monschke
                      led these two enemy combatants. After this building was cleared, SFC
                       sault force into the next building and positioned himself at the breach point of
                o cover the enemy':; most likely avenue of approach. The assault force then received
                at a vehicle was approaching the target objective at a high rate of speed. The vehicle
      uvered towards the target building and stopped 15 meters from the assault force. Two armed
ene y combatants immediately exited the vehicle and attempted to engage several assaulters who
were outside of the target building. SFC Monschke employed his SAW and killed the two
combatants attempting to engage the assault force. Sergeant Monschke then immediately
transitioned his weapon to the oth,er enemy combatant in the vehicle who was attempting to engage
the assault force and accurately destroyed his intended target. Fewer than five minutes had elapsed



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AOSO-SFC-SN
SUBJECT: Informal A1my Regulation (AR) 15-6 Investigation


when the AF received a report that a second vehicle was speeding towards the assault force's
location. As the vehicle approached the target location, the assaulters outside the target building
identified four passengers with weapons. In response to this threat, SFC Monschke and the outside
security element fired at the vehicle, killing the four occupants in the vehicle and stopping t
vehicle just five meters from the target building.

3. RECOMMENDATIONS. With respect to Operation MODEL T, I recommend th
be taken against any US personnel involved with this incident. The placement of
footpaths/roads is the most common and deadly tactic used by enemy forces thro
Jabour region of Iraq. Additionally, all command decisions made on this da
established unit Standing Operating Procedures. This incident does
importance of conducting detailed route studies prior to all movement
strikes along footpaths/roads in rural areas. Further, I recommend n
respect to Operation CHARGER. Sergeant MONSCHKE a
performed valiantly under hostile fire and took all appropr·
themselves and their assault force against positively identifi

4. I am the POC for this memorandum a




                                                             (b)(3)(b)(6)
20 Encls
1. Appointment orders
2. Additional Appointment orde
3. HIR B23-018 dated 14 Oc
4. Death Certificate
5. CONOP B23-191 O12e
6. OPSUM, MODE
7. Ground Overla             OS) Operation MODEL T
8. GridRe                   RG) Operation MODEL T
9. Story                nMODELT
10.                  rty memorandum
                     report
                    onschke
              2823,
              2823'

     A Form 2823,
17. DA Form 2823,        (b)( 3)(b)( 5)

18. DA Form 2823,
19. DA Form 2823,
20. DA Form 2823,


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